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5
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6    REGINALD THOMAS
7
                                    UNITED STATES DISTRICT COURT
8
                                  EASTERN DISTRICT OF CALIFORNIA
9
                                          SACRAMENTO DIVISION
10

11   UNITED STATES OF AMERICA,                 )                 NO. 2:11-cr-00216-MCE
                                               )
12         Plaintiff,                          )                 STIPULATION AND ORDER
                                               )                 CONTINUING STATUS
13   vs.                                       )                 CONFERENCE
                                               )
14   REGINALD THOMAS,                          )
                                               )
15         Defendant.                          )
     __________________________________________)
16

17          Defendant REGINALD THOMAS, by and through his attorney, Colin Cooper, defendant
18   DESHAWN RAY, by and through his attorney, Julius Engel, the UNITED STATES, by and
19   through Assistant United States Attorney Matthew Morris, hereby stipulate and agree to continue
20   the status conference in the above-captioned case set for March 7, 2013 to April 4, 2013, at 9:00
21   a.m. The continuance is requested to allow defendant’s counsel additional time for preparation.
22          The parties further stipulate and agree that the period from March 7, 2013 to April 4, 2013,
23
     is excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161 (h)(7)(iv)
24
     for the effective preparation of counsel.
25
            Defendants DESHAWN RAY and REGINALD THOMAS are reviewing discovery and
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27   investigating the case.

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1           The requested continuance is not based on congestion of the Court’s calendar, lack of
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     diligent preparation on the part of the attorney for the government or the defense, or failure on the
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     part of the attorney for the government to obtain available witnesses. Under 18 U.S.C. Section
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     3161(h)(7)(B)(iv) and local code T4, the delay results from a continuance granted by the Court at

6    the defendant’s request, with the agreement of the government, on the basis of the Court’s finding
7    that: (i) the delay will allow defense counsel reasonable time to prepare; and (ii) the ends of justice
8
     served by the continuance outweigh the best interest of the public and defendant in a speedy trial.
9
     See Bloate v. United States, 130 S. Ct. 1345, 1357-58 (2011).
10

11   DATED: February 28, 2013                             /s/ COLIN L. COOPER
                                                   Attorney for Defendant REGINALD THOMAS
12
     DATED: March 4, 2013                                 /s/ JULIUS ENGEL
13
                                                   Attorney for Defendant DESHAWN RAY
14
     DATED: March 4, 2013                                 /s/ MATTHEW MORRIS
15                                                 Assistant United States Attorney
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1
                                                   ORDER
2

3           GOOD CAUSE APPEARING, in that it is the stipulation of the parties: IT IS HEREBY

4    ORDERED that the status conference scheduled for March 7, 2013, at 9:00 a.m. is vacated and the
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     matter is set for status conference on April 4, 2013, at 9:00 a.m., and that the period from March 7,
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     2013 to April 4, 2013, is excludable from calculation under the Speedy Trial Act pursuant to 18
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     U.S.C. §3161(h)(7)(B)(iv).

9           IT IS SO ORDERED.
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     DATED: March 8, 2013
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                                                __________________________________________
14                                              MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                                UNITED STATES DISTRICT JUDGE
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